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                           CIVIL MOTION MINUTES
                           (via TELECONFERENCE)


Date: 1/08/21                                           Judge: Brinkema
                                                        Reporter: A. Thomson
Time: 9:59am – 10:52am


Civil Action Number: 1:20cv1263

  Jerry Davidson, individually and on behalf of all others similarly situated
vs.
  United Auto Credit Corporation

Appearances of Counsel for         (X ) Pltf          (X) Deft

Motion to/for:
#66 Deft Motion to Dismiss Plaintiff’s Second Amended Class Action Complaint




Argued &
( ) Granted ( ) Denied (      ) Granted in part/Denied in part
( )Held in Abeyance (X) Taken Under Advisement ( ) Continued to ( ) Overruled




(X) Memorandum Opinion to Follow
( ) Order to follow
